   Case 8:25-cr-00006-LKG   Document 126   Filed 05/16/25   Page 1 of 9



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,          *
                                   *
          Plaintiff,               *
                                   *
     v.                            *
                                              CRIMINAL NO. LKG-25-6
                                   *
THOMAS C. GOLDSTEIN,               *
                                   *
          Defendant.               *
                                   *

                   DEFENDANT THOMAS C. GOLDSTEIN’S
                         MOTION TO DISMISS
                        COUNTS 15 THROUGH 19
          Case 8:25-cr-00006-LKG                       Document 126                 Filed 05/16/25              Page 2 of 9



                                                  TABLE OF CONTENTS
                                                                                                                                     Page

INTRODUCTION ...........................................................................................................................1
ARGUMENT ...................................................................................................................................2
CONCLUSION ................................................................................................................................5




                                                                     i
          Case 8:25-cr-00006-LKG                       Document 126                 Filed 05/16/25              Page 3 of 9



                                                TABLE OF AUTHORITIES

                                                                                                                                 Page(s)
FEDERAL CASES

Cheek v. United States,
   498 U.S. 192 (1991) ...............................................................................................................2, 4

Spies v. United States,
   317 U.S. 492 (1943) ...................................................................................................................1

United States v. Freeman,
   No. 3:19-CR-00220 (VAB), 2022 WL 1156325 (D. Conn. Apr. 18, 2022) ..........................3, 4

United States v. Ostendorff,
   371 F.2d 729 (4th Cir. 1967) .....................................................................................................1

United States v. Platt,
   435 F.2d 789 (2d Cir. 1970).......................................................................................................4

United States v. Tucker,
   686 F.2d 230 (5th Cir. 1982) .....................................................................................................1

FEDERAL STATUTES

26 U.S.C. 6651(a)(2)........................................................................................................................1

26 U.S.C. § 7203 .................................................................................................................... passim

OTHER AUTHORITIES

1 Comisky et al., Tax Fraud & Evasion: ¶ 2.09 Failure to File Returns or Pay
   Tax, Tax Fraud & Evasion, 1999 WL 668606 (2025)...............................................................1




                                                                     ii
       Case 8:25-cr-00006-LKG           Document 126         Filed 05/16/25       Page 4 of 9



                                              INTRODUCTION

       The Indictment charges defendant Thomas C. Goldstein with five counts of willful failure

to pay taxes in violation of 26 U.S.C. § 7203 for the tax years 2016 through 2021 (Counts 15-

19). It is undisputed that in each of those years Mr. Goldstein did file a tax return. It is also

undisputed that Mr. Goldstein ultimately paid the outstanding taxes from these years with

penalties and interest. See ECF No. 1, ¶¶ 39, 50, 68, 74, 85 (acknowledging that for each of the

tax years, Mr. Goldstein paid his tax liability). The Indictment nevertheless charges Mr.

Goldstein with willful failure to pay taxes for each of these years, presumably on the theory that

Mr. Goldstein was committing a crime during the time period that the taxes remained unpaid.

       To the defense’s knowledge, the government has never before charged a taxpayer with a

crime under these circumstances. Generally, this offense is charged against taxpayers who fail to

file returns. E.g., United States v. Ostendorff, 371 F.2d 729, 730 (4th Cir. 1967); see also 1

Comisky et al., Tax Fraud & Evasion: ¶ 2.09 Failure to File Returns or Pay Tax, Tax Fraud &

Evasion, 1999 WL 668606 (2025). Prosecutions for failure to pay taxes, on the other hand, are

“rare,” United States v. Tucker, 686 F.2d 230, 233 (5th Cir. 1982), no doubt because of “our

traditional aversion to imprisonment for debt,” Spies v. United States, 317 U.S. 492, 498 (1943).

Instead, the Internal Revenue Code establishes a regime of civil penalties and interest for

taxpayers who do not or cannot make their tax payments on time. See generally 26 U.S.C. §

6651(a)(2) (imposing civil penalties for failure “to pay the amount shown as tax on any return

. . . unless it is shown that such failure is due to reasonable cause and not due to willful neglect”).

But the Indictment does not allege that Mr. Goldstein failed to comply with this civil regime, and

in fact, he has paid his full tax liability on his reported income for each of the charged years,

along with the full penalties and interest.



                                                  1
       Case 8:25-cr-00006-LKG          Document 126         Filed 05/16/25      Page 5 of 9



       Therefore, as a matter of law, it cannot be said that Mr. Goldstein “willfully” failed to

pay his taxes. A contrary interpretation would completely upend the Internal Revenue Service’s

civil enforcement of the Tax Code, as any taxpayer entering into an agreement with the IRS to

pay taxes and penalties would thereby subject themselves to per se criminal liability. If allowed

to stand, the government’s theory of liability here—that a taxpayer like Mr. Goldstein who is on

a payment plan under the IRS’s civil enforcement regime is ipso facto guilty of willfully failing

to pay taxes—eviscerates the Internal Revenue Code’s regime of civil penalties and interest for

taxpayers who acknowledge their tax liabilities but are unable to make timely payments.

                                              ARGUMENT

       Title 26, United States Code, Section 7203 provides that any person “who willfully fails

to pay [any] tax . . . shall . . . be guilty of a misdemeanor.” As the Supreme Court has explained,

for purposes of “criminal tax cases,” the term “willfulness” requires the prosecution “to prove

that the law imposed a duty on the defendant, that the defendant knew of this duty, and that he

voluntarily and intentionally violated that duty.” Cheek v. United States, 498 U.S. 192, 201

(1991). This interpretation “carv[es] out an exception to the traditional rule” that ignorance of

the law or a mistake of law is not a defense to criminal prosecution. Id. at 199-200. “This

special treatment of criminal tax offenses is largely due to the complexity of the tax laws.” Id. at

200.

       Applying that settled legal standard to Section 7203 requires the government to prove

that the taxpayer knew of a duty to pay their taxes and “voluntarily and intentionally violated that

duty.” Here, the Indictment alleges precisely the opposite. Mr. Goldstein complied with his

legal duty by paying the taxes that he owed, along with the applicable penalties and interest.

Therefore, the Indictment does not properly allege a willful violation of Section 7203.



                                                 2
       Case 8:25-cr-00006-LKG           Document 126        Filed 05/16/25      Page 6 of 9



       The government’s contrary interpretation appears to be that, even though he ultimately

paid the taxes that he owed along with penalties and interest, Mr. Goldstein nevertheless willfully

failed to pay those taxes during the time period between the payment due date and the date the

taxes were paid.

       This interpretation of Section 7203 makes no sense and is inconsistent with the settled

meaning of “willfulness” as that term is used in criminal tax statutes. The IRS has promulgated

detailed guidance explaining to taxpayers the penalties and interest they owe when tax payments

are late. Any reasonable taxpayer—including Mr. Goldstein—would conclude that complying

with that penalties and interest regime would amount to compliance with the taxpayer’s legal

duty. On the government’s contrary view, every taxpayer who pays their taxes late is voluntarily

and intentionally violating a known legal duty even if they pay the applicable penalties and

interest for the time period that their tax bill is outstanding. That cannot be the law. The far

more reasonable interpretation of Section 7203 is that it reserves criminal liability for

circumstances in which a taxpayer voluntarily and intentionally ignores a legal duty by not filing

a tax return or not paying their taxes altogether.

       In light of the government’s wildly overexpansive interpretation of Section 7203, it is not

surprising that (to the defense’s knowledge) there is just one reported case that comes anywhere

near adopting it. In United States v. Freeman, No. 3:19-CR-00220 (VAB), 2022 WL 1156325

(D. Conn. Apr. 18, 2022), the defendant was convicted after a bench trial of failure to pay taxes

under Section 7203. The Freeman court’s conclusion on this point in an unpublished opinion is

not binding on this Court and is not correct. In particular, Freeman interpreted a Second Circuit

decision reversing a taxpayer’s conviction under Section 7203 for failure to file tax returns to

stand for the more general proposition that a taxpayer who is aware of civil penalties and interest



                                                     3
       Case 8:25-cr-00006-LKG           Document 126         Filed 05/16/25       Page 7 of 9



for late tax payments acts willfully for purposes of Section 7203. See id. at *21 (citing United

States v. Platt, 435 F.2d 789 (2d Cir. 1970)). As discussed above, that conclusion cannot be

squared with the holding of Cheek—decided two decades after Platt—that the willfulness

requirement in the criminal tax context requires the government to prove that the defendant

voluntarily and intentionally violated a known legal duty. A taxpayer who complies with civil

enforcement of the Tax Code simply cannot have such an intent.

       But in any event, the allegations in the Indictment in this case come nowhere close to the

evidence of willfulness in Freeman. There, the evidence established that “in order to avoid

payment to the IRS, [the defendant] went so far as to place his assets in [a bank account created

under another person’s name] . . . to ensure that the IRS could not take the money.” Id. at *21

(cleaned up). In other words, the court found that the taxpayer took affirmative steps to hide

funds from the IRS and frustrate the IRS’s ability to collect on the unpaid taxes, thus establishing

a willful violation of Section 7203.

       By contrast, the Indictment in this case does not allege that Mr. Goldstein took steps like

opening a new bank account in another person’s name. In fact, Mr. Goldstein rejected his

accountant’s suggestion that he “open new bank accounts” because “we do not want the IRS

taking any monies from those accounts.” Exhibit A. For multiple of the relevant tax years, Mr.

Goldstein entered into installment agreements with the IRS to work to pay off his outstanding

liability. And Mr. Goldstein did, in fact, pay off every cent of the relevant tax liabilities, plus

interest and penalties. Under these circumstances, as a matter of law, Mr. Goldstein cannot have

committed a violation of Section 7203.




                                                  4
       Case 8:25-cr-00006-LKG          Document 126         Filed 05/16/25       Page 8 of 9



       The Indictment’s allegations regarding Mr. Goldstein’s personal expenditures do not save

the government’s convoluted interpretation of Section 7203. The Indictment alleges that, during

the period when Mr. Goldstein owed taxes, he made personal expenditures. The government

may contend that, by making those personal expenditures while he owed taxes, Mr. Goldstein

willfully violated his legal duty to pay taxes for purposes of Section 7203.

       The problem with this argument is that Section 7203 says no such thing. The statute does

not, for example, say that it is a crime to pay for travel or food while the taxpayer owes taxes.

Once again, there is a good reason for this—that principle has no logical limit. Is a taxpayer who

owes taxes permitted to go out to dinner? Are they permitted to buy food from a grocery store?

The Indictment perfectly illustrates this problem. The Indictment alleges, for example, that in

2018, Mr. Goldstein “spent hundreds of thousands of dollars on luxury items, gambling debts,

and other personal payments” rather than pay his 2017 taxes. ECF No. 1, ¶ 48. But the

Indictment does not specify the legal duty that Mr. Goldstein is alleged to have voluntarily and

intentionally violated by making those payments. The Indictment does not say what Mr.

Goldstein was allowed to spend money on, or how much money he was allowed to spend, while

his 2017 tax bill was outstanding. Section 7203 avoids this sort of nebulous inquiry in the

criminal context by reserving criminal liability for taxpayers who ignore their legal obligations

altogether, and not those who fulfill their legal obligations behind schedule.

                                         CONCLUSION

       For over three decades, it has been settled law that the term “willfully” as used in

criminal tax statutes requires the government to prove that the defendant voluntarily and

intentionally violated a known legal duty. A taxpayer like Mr. Goldstein who complies with the

civil enforcement provisions of the Internal Revenue Code simply does not have this mental



                                                 5
       Case 8:25-cr-00006-LKG          Document 126        Filed 05/16/25     Page 9 of 9



state. The government’s contrary view would mean that every taxpayer who enters into a

payment plan with the IRS is thereby admitting to a federal crime and would resurrect the

concept of a debtor’s prison in this country. The defense is aware of no legal authority to

support such a breathtaking expansion of federal criminal tax law. Accordingly, Counts 15-19

should be dismissed.

                                                    Respectfully submitted,


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